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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

MERLIN KAUFFMAN,
an individual,

      Plaintiff,

v.                                            CASE NO. 3:20-cv-17-MMH-JBT

TRANS HIGH CORPORATION,
etc., et al.,

             Defendants.
                                        /

                                     ORDER

      THIS CAUSE is before the Court on Plaintiff’s Motion to Compel

Depositions and for Extension of Discovery Deadline Exclusively Limited to the

Depositions (“Motion”) (Doc. 49) and Defendants’ Response thereto (Doc. 52).

In the Motion, Plaintiff seeks an order compelling the deposition of one of two

corporate representatives initially designated by Defendants to cover different

topics.   (Doc. 49.)   Plaintiff also seeks an order compelling Defendants to

amend their discovery responses to provide contact information for a prior board

member Plaintiff wishes to depose.   (Id.)

      In the Response, Defendants argue that because the one corporate

representative who was deposed covered all of the deposition topics, there is no

need for another representative to be deposed.     (Doc. 52.)   Defendants also

state that the prior board member has now been deposed.          (Id.)   Thus, it
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appears that the Motion may be moot.

      Accordingly, it is ORDERED:

      1.     The Motion (Doc. 49) is TAKEN UNDER ADVISEMENT.

      2.     The parties shall confer regarding the issues raised in the Motion

and, if any issues remain in dispute, shall file a joint notice on or before April

12, 2021 identifying those issues and briefly stating each side’s position. If no

notice is filed, the Court will assume no issues remain in dispute and the Motion

will be denied as moot.

      DONE AND ORDERED in Jacksonville, Florida, on April 5, 2021.




Copies to:

Counsel of Record




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